


  Reade, J.
 

  Beforexthe Ordinance to change the jurisdiction of the Courts, &amp;c., (23d June, 1866,) this suit would have abated by reason that two terms had elapsed after the defendant’s death without making his executor a party. But that ordinance provides that the time elapsed since 1st Sept. 1861, barring actions and suits, or presuming the satisfaction or abandonment of rights, shall not be counted. That ordinance prevented this suit from abating. We so held in
  
   Morris
  
  v.
  
   Avery,
  
  ante, 238. His Honor’s ruling in this case was before that decision.
 

  There is error. Let this be certified, &amp;c. ■
 

  Per Curiam. There is error.
 
